UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NORTH CAROLINA

 

 

KEOSHA HORNE, et al., )
)
Plaintiffs, )

) Civil Action No. 5:09-CV-00042-H
v. )
)
SMITHFIELD PACKING COMPANY, INC., )
)
Defendant. )
)
ANGELINA MITCHELL, et al., )
)
Plaintiffs, )
)

Vv. ) Civil Action No. 4:08-CV-00182-H
)
SMITHFIELD PACKING COMPANY, INC., )
)
Defendant. )
)
JAMES HARRIS, et al., )
)
Plaintiffs, )
)

v. ) Civil Action No. 4:09-CV-0041-H

)
SMITHFIELD PACKING COMPANY, INC., )
)
Defendant. )
)

 

JOINT NOTICE OF SETTLEMENT
Class Counsel and Defendant’s Counsel in the referenced cases hereby give notice that
they have reached agreement to settle these cases, subject to the approval of the Court. On

August 7, 2013, the Parties filed in each case a Joint Motion to Hold Deadlines and Scheduling

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Order in Abeyance, pending their efforts to resolve the cases in mediation. (Horne Doc. 215;
Mitchell Doc. 185; Harris Doc. 156.) On August 24, 2013, this Court granted the Parties’ Joint
Motion, and directed the Parties to inform the Court of the progress of their mediation efforts.
(Horne Doc. 217; Mitchell Doc. 186; Harris Doc. 158.)

On behalf of their respective clients, Class Counsel and Defendant’s Counsel now report
that they have reached agreement to settle these cases, subject to approval of the Court. Counsel
are working to prepare a formal Settlement Agreement to memorialize the settlement, together
with a joint motion for court approval, and the various documents associated with the class
settlement. Counsel expect to file these materials within 10 days.

Respectfully submitted this 21st day of October, 2013.

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